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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

 In re:                                             Chapter 11

 HO WAN KWOK,                                       Case No: 22-50073 (JAM)

                       Debtor.


 PACIFIC ALLIANCE ASIA OPPORTUNITY Contested Matter [Doc. No. 57]
 FUND, L.P.,

                       Movant,

 v.

 HO WAN KWOK,

                       Respondent.

          HK INTERNATIONAL FUNDS INVESTMENTS (USA) LIMITED, LLC’S
                PROGRESS REPORT REGARDING THE “LADY MAY”

          HK International Funds Investments (USA) Limited, LLC (“HK USA”), by and through

its undersigned attorneys, Zeisler & Zeisler, P.C., hereby submits this progress report regarding

the status of that certain yacht the “Lady May” in accordance with that certain Stipulated Order

Compelling HK International Funds Investments (USA) Limited, LLC to Transport and Deliver

that Certain Yacht, the “Lady May” [Doc. No. 299] (“Order”) entered by this Court on April 29,

2022. The current status of the particular items as required by paragraph 2 of the Order is set forth

in the Declaration of Mei Guo appended hereto as Exhibit 1.
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     Dated this 16th day of May, 2022.

                                               HK INTERNATIONAL FUNDS
                                               INVESTMENTS (USA) LIMITED, LLC


                                               By: /s/ Stephen M. Kindseth
                                               Stephen M. Kindseth (ct14640)
                                               Aaron A. Romney (ct28144)
                                               Zeisler & Zeisler, P.C.
                                               10 Middle Street, 15th Floor
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                                               Its Attorneys
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of May, 2022, a copy of foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.



                                                       /s/ Stephen M. Kindseth
                                                       Stephen M. Kindseth (ct14640)
